 Case 1:20-cv-00985-GBW Document 262-1 Filed 06/14/23 Page 1 of 1 PageID #: 5405


                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       )
   ACADIA PHARMACEUTICALS INC.,                        )
                                                       )
                                  Plaintiff,           )   C.A. No. 20-985-GBW
                            v.                         )
                                                       )
   AUROBINDO PHARMA LIMITED et al.,                    )   CONSOLIDATED
                                                       )
                                  Defendants.          )
                                                       )

                  [PROPOSED] ORDER GRANTING ACADIA’S CROSS-MOTION FOR
                  SUMMARY JUDGMENT OF INFRINGEMENT AND NO INVALIDITY
                                OF U.S. PATENT NO. 7,601,740

             Upon the Cross-Motion for Summary Judgment of Infringement and No Invalidity of

   U.S. Patent No. 7,601,740 (the “Motion”) filed by Plaintiff ACADIA Pharmaceuticals Inc.

   (“ACADIA”); and the Court having reviewed the Motion; and the Court having jurisdiction over

   this matter; and the Court having determined that the legal and factual bases set forth in the

   Motion establish sufficient cause for the relief requested therein; and after due deliberation

   thereon; and sufficient cause appearing therefor;

             It is hereby ORDERED that:

             1.      The Motion is GRANTED. The Court hereby enters Judgment that Claim 26 of

   U.S. Patent No. 7,601,740 is valid and is literally infringed by MSN’s ANDA Product that is the

   subject of MSN’s ANDA No. 214925.

             2.      Summary Judgment is GRANTED in favor of ACADIA.

             3.      Costs are AWARDED to ACADIA.

   SO ORDERED this               day of                     , 2023.


                                                       UNITED STATES DISTRICT JUDGE




41724738.2
